          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION

                          CIVIL NO. 1:07CV127
                                (1:02CR4)

HARRY NOLAN MOODY,                       )
                                         )
                 Petitioner,             )
                                         )
           Vs.                           )           ORDER
                                         )
UNITED STATES OF AMERICA,                )
                                         )
                 Respondent.             )
                                         )


     THIS MATTER is before the Court on Respondent’s motion to

dismiss and the Petitioner’s motion to strike the Respondent’s Answer to

the Petitioner’s Motion to Vacate. In the interest of judicial economy, the

Court will convert the Respondent’s motion to dismiss to one for summary

judgment pursuant to Fed. R. Civ. P. 56, and provide the Petitioner with the

opportunity to respond thereto.

     In accordance with Roseboro v. Garrison, 528 F.2d 309 (4th Cir.

1975), Petitioner, who is proceeding pro se, is cautioned that he carries a

heavy burden in responding to a motion for summary judgment. Rule 56(e)

of the Federal Rules of Civil Procedure provides:




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      When a motion for summary judgment is made and supported
      as provided in this rule, an adverse party may not rest upon the
      mere allegations or denials of the adverse party's pleading, but
      the adverse party's response, by affidavits or as otherwise
      provided in this rule, must set forth specific facts showing that
      there is a genuine issue for trial. If the adverse party does not
      so respond, summary judgment, if appropriate, shall be entered
      against the adverse party.

This language means that if the Petitioner has any evidence to offer to

show that there is a genuine issue for trial, he must now present it to the

Court in a form which would otherwise be admissible at trial, that is, in the

form of affidavits or unsworn declarations. An affidavit is a written

statement under oath; in other words, a statement prepared in writing and

sworn before a notary public. An unsworn statement, made and signed

under the penalty of perjury, may also be submitted.

      Affidavits or statements must be presented by the Petitioner to this

Court within thirty (30) days from the date of this Order. As stated by Rule

56(e), Petitioner’s failure to respond may result in the action being

summarily dismissed.

      IT IS, THEREFORE, ORDERED that the Respondent’s motion to

dismiss is hereby converted to a motion for summary judgment pursuant to

Fed. R. Civ. P. 56.




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      IT IS FURTHER ORDERED that the Petitioner is allowed thirty (30)

days from the date this Order is filed within which to respond, in

accordance with the provisions of Fed. R. Civ. P. 56(e) to Respondent’s

motion to dismiss.

      IT IS FURTHER ORDERED that the Petitioner’s motion to strike the

Respondent’s answer is hereby DENIED.

                                      Signed: July 20, 2007




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